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Student Doe, minor suing under fictitious name for privacy reasons, by and through
Student Doe's parents, Father Doe and Mother Doe, suing under fictitious names to    Abington Friends School
protect the identity and privacy of Student Doe, their minor child and Father Doe
and Mother Doe, individually and on their own behalf.
                                                       Montgomery                                                             Montgomery




        Scott H. Wolpert, Esquire, Timoney Knox, LLP
        400 Maryland Drive, Fort Washington, PA 19034
        215-540-2656

                              X




                            X




X




                                  42 U.S.C. §2000d et seq.; 29 U.S.C. § 794
                                                          Contract, Tort and Civil Rights Claims for Race, Religion and Disability-based
                                                          Harassment and Discrimination in School

                                                                                                                                  X




                      N/A

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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________
STUDENT DOE, minor suing under fictitious name             :
for privacy reasons, by and through STUDENT DOE’S parents, :
FATHER DOE and MOTHER DOE,                                 :
suing under fictitious names to protect the identity       :
and privacy of STUDENT DOE, their minor child,             :
                                                           : CIVIL ACTION NO.
and                                                        :
                                                           :
FATHER DOE and MOTHER DOE, individually and on their :
own behalf,                                                :
                              Plaintiffs,                  :
                                                           :
               vs.                                         :
                                                           :
ABINGTON FRIENDS SCHOOL,                                   :
                              Defendant.                   :
______________________________________________________:

                           VERIFIED COMPLAINT AND JURY DEMAND

            Plaintiffs, Father Doe and Mother Doe, individually and on behalf of their minor child,

Student Doe, by and through their undersigned attorneys, hereby complain of Defendant,

Abington Friends School (“AFS”) as follows:

     I.           INTRODUCTION

            1.       Plaintiffs, Father Doe and Mother Doe, individually and on behalf of their minor

child, Student Doe, sue for breach of contract, breach of implied covenant of good faith and fair

dealing, intentional infliction of emotional distress, negligent infliction of emotional distress,

discrimination in violation of Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§2000d et seq., and discrimination in violation of Section 504 of the Rehabilitation Act of 1973,

as amended, 29 U.S.C. § 794, against AFS, a recipient of federal financial assistance.

            2.       Student Doe is a white, Jewish child with a disability who attended AFS Middle

School during Student Doe’s 8th grade school year (2019-20) and AFS Upper School during

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Student Doe’s 9th grade school year (2020-21), during which time, Student Doe was subjected to

racially-charged harassment and bullying, anti-Semitic comments, and an increasingly hostile

environment both in school and virtually.

            3.       Specifically, during Student Doe’s 8th grade school year in the AFS Middle

School (2019-20) and 9th grade school year in the AFS Upper School (2020-21), AFS students

singled out Student Doe and denounced Student Doe as a “racist,” and began openly harassing

and bullying Student Doe at school, as well as through text messaging and on social media.

During those two school years, Student Doe became the object of a character assassination

campaign led by a specific group of black students in Student Doe’s class at AFS (which

included Student 1, Student 2, and Student 3), who openly harassed and bullied Student Doe and

claimed that Student Doe was a “racist” because Student Doe hosted a bar/bat mitzvah party in

which some young guests at the party (not Student Doe) allegedly said the “N-word” when

singing along with the lyrics of a popular rap song; because Student Doe voiced opinions in class

at AFS supporting Joe Biden and Mike Bloomberg during the Democratic primaries; because

Student Doe typed the word “monkey” in response to a monkey-face emoji sent by Student 1, a

black AFS student, during a Snapchat Group Chat that included both black and white AFS

students; and because Student Doe wore bronzer on Student Doe’s face which was maliciously

characterized by AFS students as “blackfishing.” This specific group of black AFS students in

Student Doe’s class also began to coerce other AFS students into falsely accusing Student Doe of

being a “racist” and using the “N-word,” and on one occasion spread around a photo of one of

Student Doe’s friends with an offensive caption on it that said “Look at this [N-word]” and

telling others that Student Doe had created it and shared it on social media, which was not true.

These AFS students also anonymously posted a meme on the AFS Confessions Instagram



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account, which was followed by 132 members of the AFS community, that showed two separate

pictures of Student Doe side-by-side to show the difference in Student Doe’s skin’s complexion

when Student Doe used bronzer, and called Student Doe a “racist.”

            4.       These same AFS students, and particularly Student 1, also demonstrated hostility

toward Jewish students at AFS, including Student Doe, and made numerous anti-Semitic remarks

to Student Doe at school, including Student 1 telling Student Doe (and others at AFS) that “all

Jews were racist” and that Student 1 had “never met a Jew who wasn’t racist,” in order to both

harass and offend Student Doe and to continue to perpetuate the false narrative and accusations

of Student Doe being a “racist.” Another AFS student (“Student 5”) sent Student Doe an image

which depicted a photo of Adolf Hitler in full Nazi uniform with the statement, “I would make a

Jew joke but I’m sure you’ve heard it 6 million times.”

            5.       Although Father Doe and Mother Doe immediately reported each of these

incidents of bullying and harassment to the AFS administration, including to the Head of the

Upper School, Dominique (“Dom”) Gerard, and the Head of School, Richard Nourie, AFS

improperly and intentionally failed to follow the policies and procedures found in the AFS

Handbook to discipline the specific group of AFS students who were openly harassing and

bullying Student Doe, or to take prompt action to investigate and to halt their campaign of

harassment against Student Doe. By its actions and inactions, AFS essentially endorsed the false

and malicious harassment and bullying of Student Doe.

            6.       As a result, the harassment and bullying by AFS students toward Student Doe

continued – aided and abetted by AFS and its administrators – with another AFS student, Student

4, sending Student Doe a message as late as May 5, 2021 calling Student Doe a “privileged white

[expletive].” Student Doe remained shunned, was isolated and suffered, and continues to suffer,



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severe physical, mental and emotional trauma. Student Doe was never reintegrated into the AFS

community with Student Doe’s class, never received an apology or an acknowledgment from any

of the AFS students involved (with the exception of Student 3) of the pain they caused Student

Doe, was never socially reacquainted with or accepted by Student Doe’s peers at AFS, and did

not feel emotionally able to return to campus for in-person learning for the remainder of the

2020-21 school year. After their pleas to AFS for help for their child were met with indifference,

Father Doe and Mother Doe were left with no choice but to withdraw Student Doe from AFS at

the end of the 2020-21 school year in order to remove Student Doe from the hostile school

environment at AFS. Had AFS not elected to take the unusual step to institute “block

scheduling,” whereby each subject was taught in one semester rather than over the course of a

two-semester year, Father Doe and Mother Doe would have withdrawn Student Doe earlier.

            7.       Additionally, throughout Student Doe’s 9th grade school year (2020-21), AFS

failed to recognize its legal obligations as a recipient of federal funds, as well as pursuant to its

own Handbook, to support Student Doe, who is a qualified individual with disabilities (including

a Specific Learning Disability and Anxiety). These failures included, but are not limited to,

AFS’s (1) failure to evaluate Student Doe, (2) failure to convene a meeting to determine what

accommodations Student Doe needed to access the school’s programs, (3) failure to issue a

written plan that provided for the accommodations Student Doe required as a result of Student

Doe’s disabilities, and (4) failure to provide accommodations and supplemental services to

Student Doe constituting discrimination under Section 504.

     II.          PARTIES

            8.       Plaintiffs, Father Doe and Mother Doe, are adult individuals who are the natural

parents of Plaintiff, Student Doe. They sue for themselves individually and on behalf of their



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minor child, Student Doe. They reside together within the County of Montgomery in the

Commonwealth of Pennsylvania. They bring this action as Father Doe and Mother Doe rather

than by their own names because naming them would reveal the identity of Plaintiff, Student

Doe.

            9.       Plaintiff, Student Doe, resides with Student Doe’s parents, Father Doe and Mother

Doe, within the County of Montgomery in the Commonwealth of Pennsylvania. Student Doe

was a student at AFS from the beginning of Student Doe’s 8th grade school year (2019-20)

through the end of Student Doe’s 9th grade school year (2020-21), for which Father Doe and

Mother Doe paid tuition and related fees and costs. Student Doe sues herein under this fictitious

name because Student Doe is a minor with disabilities, is vulnerable to possible serious harms

from disclosure of Student Doe’s identity, and the litigation involves matters that are highly

sensitive and of a personal nature.

            10.      Defendant, AFS, is an independent, non-public school incorporated under the

laws of the Commonwealth of Pennsylvania with a campus and principal place of business

located at 575 Washington Lane, Jenkintown, County of Montgomery, in the Commonwealth of

Pennsylvania.

            11.      At all relevant times, AFS acted by and through its employees, servants and

agents, who at all times were acting within the course and scope of their employment, service

and agency, for and on behalf of AFS.

            12.      At all pertinent times herein, AFS was the recipient of federal funds, including a

Paycheck Protection Program (“PPP”) loan disbursed pursuant to the Coronavirus Aid, Relief,

and Economic Security Act (CARES ACT)” in 2020.




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     III.         JURISDICTION AND VENUE

            13.     Because this Complaint seeks relief under Title VI of the Civil Rights Act of

1964, as amended, 42 U.S.C. §2000d et seq., and under Section 504 of the Rehabilitation Act of

1973, as amended, 29 U.S.C. § 794, this Court has subject matter jurisdiction over Counts V and

VI pursuant to 28 U.S.C. § 1331, and over Counts I through IV pursuant to 28 U.S.C. § 1367

under the doctrine of pendent or supplemental jurisdiction.

            14.     This Court has personal jurisdiction over AFS as it is located in and conducts

business in this judicial district.

            15.     Venue is proper in this district under 28 U.S.C. § 1391(b)-(c), as AFS resides in

this district and all of the events or omissions giving rise to Plaintiffs’ claims occurred in this

district.

     IV.          FACTS

     A. Student Doe Joins the AFS “Community” with the Class of 2024 and Development
        of a Formal Education Plan

            16.     Prior to attending AFS for Student Doe’s 8th and 9th grade school years, Student

Doe attended a middle school in a the local public school district.

            17.     Student Doe decided to apply to AFS for Student Doe’s 8th grade school year

because Student Doe desired a change from the large public school environment and wanted to

experience the benefits of a private Quaker school, which held itself out as providing a socially

responsible and academically rigorous education, a diverse student body, and a focus on

fostering the ideals of community, spirituality, responsibility and stewardship. Student Doe was

admitted to the AFS Middle School for the 2019-20 academic year.

            18.     Student Doe’s parents, Father Doe and Mother Doe, and AFS entered into binding

enrollment contracts for the 2019-20 academic year, and later for the 2020-21 academic year. By

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entering into these AFS enrollment contracts, which incorporate the terms of the AFS

Handbooks and other written policies, and by paying the required tuition, which was $34,425.00

for the 2019-20 school year and $35,799.54 for the 2020-21 school year, Student Doe, Father

Doe and Mother Doe, became entitled to all the rights conferred by the promises in the

enrollment contracts, the AFS Handbooks and other written policies, and AFS was contractually

bound to keep those promises to the Plaintiffs.

            19.   Prior to enrolling at AFS, Student Doe had previously received special education

services and supports from the local public school district as a student with a Specific Learning

Disability in math as well as a well-documented diagnosis of Anxiety — both of which were

known to AFS prior to the commencement of Student Doe’s 8th grade school year at AFS.

            20.   In early August 2019, prior to Student Doe’s starting 8th grade at AFS, Father Doe

and Mother Doe emailed the AFS Counselor, Kevin Ryan, informing him of Student Doe’s

anxiety issues and requesting a meeting before the school year started to ensure Student Doe had

resources set up at school while Student Doe was making the adjustment to AFS.

            21.   The first Student Support Team (SST) meeting was held on August 29, 2019.

Prior to that meeting, Father Doe and Mother Doe provided AFS with a copy of a Psychological

Evaluation Report prepared by Emily Perlis, PsyD in August/September 2016, which concluded

that Student Doe had a Specific Learning Disability in the areas of math calculation and fluency.

Father Doe and Mother Doe also provided AFS with a copy of the most recent IEP from the local

public school district that addressed Student Doe’s academic and anxiety-related needs.

            22.   Following the August 29, 2019 SST meeting, Megan Asplundh, the Director of

Wilf Learning Center at AFS, emailed Father Doe and Mother Doe a copy of the Formal

Education Plan (“FEP”) that was developed for Student Doe for Student Doe’s 8th grade school



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year. The FEP identified Student Doe’s needs as math problem-solving, math calculations, math

fact fluency, spatial reasoning, fluid reasoning, processing speed and anxiety, and provided for

Student Doe to receive “adjustments” and “accommodations” to the academic program at AFS,

which included check-ins with the learning specialist, grouping like problems in math, use of

flashcards for math, small group instruction and re-teaching when possible, extended time in

math and science during testing, repetition and/or clarification of instructions during testing,

extra breaks during testing, use of a calculator during testing and in-class, and preferential

seating. The FEP, however, did not provide Student Doe with any supports to help manage

Student Doe’s anxiety and merely noted that Student Doe was working with a therapist for

anxiety out of school.

     B. Student Doe’s 8th Grade School Year At AFS Middle School (2019-20)

            23.   When Student Doe started school at AFS in September 2019, Student Doe

immediately struggled in keeping up with the classes and had significant social and school

anxiety issues, including frequent panic attacks at school.

            24.   AFS held a series of SST meetings with Father Doe and Mother Doe and, at

times, with Student Doe’s private therapist, Dr. Tamar Chansky, in which Student Doe’s

anxieties and emotional fragility was the center of discussion and attempts were made to support

Student Doe in managing Student Doe’s anxiety.

            25.   AFS provided Student Doe extended time to complete assignments, quizzes and

tests, and allowed Student Doe to take breaks, to leave class, and to delay taking or finishing

quizzes/tests when Student Doe was experiencing anxiety or panic attacks.

            26.   By mid-November 2019, Student Doe was overwhelmed in, and failing, Student

Doe’s classes due to late, missed and incomplete assignments, poor performance on quizzes and



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tests, and a significant amount of missed class time as a result of Student Doe’s anxiety and

panic attacks.

            27.   At that time, Student Doe’s parents began reaching out regularly to Student Doe’s

teachers reminding them of Student Doe’s anxiety issues and requesting updates on Student

Doe’s performance and additional support. Student Doe was provided with additional push-in

and pull-out support in Student Doe’s math class and the curriculum was modified for Student

Doe. AFS utilized a “no grading” policy for Student Doe in most of Student Doe’s classes and

Student Doe’s advisor began providing Father Doe and Mother Doe with bi-weekly check-ins to

report on how Student Doe was doing in Student Doe’s classes.

            28.   Father Doe and Mother Doe hired a private tutor (Caroline Shuman), at their cost,

to work with Student Doe 2-3 days per week, as recommended by AFS.

            29.   Student Doe, however, continued to experience social and school anxieties and

needed extensive support and accommodations in each of Student Doe’s classes.

            30.   The administrators and teachers at AFS clearly had knowledge of Student Doe’s

disabilities and related needs during Student Doe’s 8th grade school year.

            31.   Despite Student Doe’s social anxieties, Student Doe did make friends at school

during the 8th grade school year and Student Doe invited the entire 8th grade class to Student

Doe’s bar/bat mitzvah, which occurred during the first semester of Student Doe’s 8th grade

school year, and many of Student Doe’s AFS classmates attended the event.

            32.   Unfortunately, an incident allegedly occurred at the event, unbeknownst to

Student Doe and Student Doe’s family at the time, in which the DJ selected and played a rap

song that, in its original version, repeatedly used the “N-word” in the lyrics. Although the DJ,

who was black, had played a clean version of the song that bleeped out the “N-word” and other



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offensive words in the lyrics, at least one of the young white guests at the party (not Student

Doe) reportedly sang the real lyrics aloud using the “N-word.”

            33.   While Student Doe did not hear anyone sing the “N-word,” nor did Father Doe or

Mother Doe, another guest at the party, Student 1 – a black AFS student in Student Doe’s 8th

grade class – apparently reported later that he had felt uncomfortable with what had occurred,

although he did not mention those feelings to Student Doe, Father Doe, Mother Doe or anyone

else at the time and, in fact, expressed to Student Doe on video that he had a great time that

night.

            34.   Student Doe and Student Doe’s family were completely unaware that Student 1

was uncomfortable or upset and were not informed of what had occurred until months later.

            35.   A couple of months after the bar/bat mitzvah, Student 1 and a group of black AFS

Middle School students, singled out Student Doe, denounced Student Doe as a “racist” and

began openly harassing and bullying Student Doe at school, through text messaging, and on

social media.

            36.   During that time, Student Doe was subjected to a race-based harassment and

bullying, anti-Semitic comments, and an increasingly hostile environment both in school and

virtually. Student Doe become the object of a character assassination campaign led by this group

of AFS students (which included Student 1, Student 2, and Student 3), that repeatedly referred to

Student Doe as a “racist” for both what had occurred at the bar/bat mitzvah, and, later in the

fall/winter 2019, because Student Doe had voiced opinions in class and openly expressed support

for Joe Biden and Mike Bloomberg during the Democratic primaries.

            37.   During that time, these AFS students, and particularly Student 1, also openly

demonstrated hostility toward Jewish students, including Student Doe, and made numerous anti-



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Semitic remarks to Student Doe that school year, including Student 1 telling Student Doe (and

others at AFS) that “all Jews were racist” and that he had “never met a Jew who wasn’t racist,”

in order to both harass and offend Student Doe and to continue to perpetuate the false narrative

and accusations of Student Doe being a “racist.”

            38.   At least one of the AFS Middle School teachers, Sunshine O’Donnell, who was

one of Student Doe’s teachers, was made aware of the alleged incident at the bar/bat mitzvah and

of what was occurring during the 2019-20 school year with respect to Student Doe, but she did

nothing to proactively protect Student Doe from the harassment Student Doe was repeatedly

subjected to by some of Student Doe’s black peers at AFS.

            39.   In the spring of 2020, Student Doe, Student 1 and a number of other AFS Middle

School students were included in a Snapchat Group Chat. At one point during the group chat,

Student 1 sent a message to the group that contained an emoji of a monkey’s face, and Student

Doe responded by typing the word “monkey,” after which, Student 1 and other AFS students,

including Student 2 and Student 3, immediately responded to Student Doe’s message by acting

as if Student Doe had actually called Student 1 a monkey. They directly called and referred to

Student Doe in the group chat as a “racist,” again perpetuating the narrative and accusations that

falsely and maliciously attempted to characterize Student Doe as a “racist,” and sent a barrage of

insults and harassing group chat messages which were intended to torment and bully Student

Doe.

            40.   Not realizing what they were referring to, Student Doe initially responded by

asking what Student Doe had done and then publically apologized in the group chat if anyone

had interpreted Student Doe’s comment the wrong way. Some of the other AFS students in the




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group chat tried to defend Student Doe and stop the torment but Student 1, Student 2, Student 3

and other AFS students persisted in the bullying and harassment of Student Doe.

            41.   Student Doe was emotionally distraught and reached out directly to Student 1 via

private chat in order to offer him and his family some of Mother Doe’s challah as a peace

offering, but Student 1 refused to accept it, and the race-based and anti-Semitic bullying and

harassment of Student Doe only continued. For instance, on May 22, 2020, an AFS student,

Student 5, sent Student Doe an image which depicted a photo of Adolf Hitler in full Nazi

uniform with the statement, “I would make a Jew joke but I’m sure you’ve heard it 6 million

times.”

            42.   On May 28, 2020, Father Doe emailed Student Doe’s 8th grade academic advisor,

Justin Solonynka, requesting that Student 1, Student 2, and Student 3 not be in Student Doe’s

group during their 9th grade school year (2020-21).

            43.   Justin Solonynka immediately responded via email stating “Hi [Father Doe] –

We’re ahead of you on this one. :) We are aware of those dynamics, but I will make doubly sure

that the people making the advisories for next year keep it in mind.” Justin Solonynka’s email

demonstrated that AFS administrators and staff had been directly aware of the ongoing

harassment and bullying that Student Doe was subjected to by Student Doe’s peers at AFS

during the spring 2020, but AFS had ignored it and had done nothing to try to stop or prevent it.

            44.   Father Doe responded via email that Student Doe, Father Doe and Mother Doe

needed some reassurances from AFS that the issues between Student Doe and these students

would be addressed by AFS prior to the start of the 2020-21 school year, and Justin Solonynka

responded via email advising Father Doe to reach out to Dom Gerard, the Head of the Upper

School.



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            45.   During the summer 2020, prior to the start of Student Doe’s 9th grade school year

(2020-21), Father Doe and Mother Doe emailed Dom Gerard, the Head of the Upper School,

requesting a meeting to discuss the group of students in which Student Doe would be placed for

the 9th grade school year. They participated in a virtual meeting on July 29, 2020. During that

meeting, Dom Gerard, Father Doe and Mother Doe specifically discussed the ongoing

harassment and bullying that Student Doe had been subjected to by Student 1, Student 2, and

Student 3 and Dom Gerard was given the opportunity to address it.

            46.   Unfortunately, AFS did not take prompt steps to investigate the reports of

harassment and bullying by these AFS students, nor did AFS confront or discipline the three

AFS students about their improper behaviors, nor did AFS try to prevent the harassment and

bullying of Student Doe from continuing.

            47.   Rather, instead of properly and timely addressing the situation, including but not

limited to following the procedures stated in the AFS School Handbook, Dom Gerard merely

devised a way to attempt to separate the students and to keep Student Doe from interacting with

them in-person.

            48.   To that end, AFS divided the entire 9th grade class into two groups – Group A

(which were supposed to attend in-person classes on Mondays and Tuesdays) and Group B

(which was supposed to attend in-person classes on Thursdays and Fridays). Student Doe was

placed in Group B with Student 2 (as Student 2 was going to start off the year virtually anyway),

but Student Doe still had to virtually attend classes and interact with the three boys (i.e., Health

and English with Student 2, and Algebra 1 with all three boys).

            49.   While Father Doe and Mother Doe were hopeful that the situation would resolve,

Father Doe specifically cautioned Dom Gerard at the time that AFS’s total avoidance of what



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had occurred would not help bring about resolution of the situation and that some intervention

from AFS would be necessary.

     C. Student Doe’s 9th Grade School Year At AFS Upper School (2020-21)

            50.   In the beginning of Student Doe’s 9th grade school year (2020-21), which began

virtually but then transitioned to a hybrid model at the end of September 2020, Student Doe was

excited to transition from virtual programming and return to campus.

            51.   While Student Doe continued to struggle academically and with anxiety-related

issues, Student Doe worked hard with the private tutor paid for separately by Father Doe and

Mother Doe to try to keep up with Student Doe’s classes.

            52.   AFS, however, provided Student Doe with minimal, if any, supports during

Student Doe’s 2020-21 school year to help accommodate Student Doe’s disabilities.

            53.   By late-October 2020, Father Doe and Mother Doe noticed that Student Doe was

continuing to struggle and reached out directly to the learning specialist and Director of the Wilf

Learning Center at AFS, Megan Asplundh, requesting that she provide Student Doe additional

support moving forward. They shared their concerns that Student Doe did not understand how to

prepare for tests and that Student Doe had a private tutor, but needed more hands-on study skills.

Mother Doe also requested a meeting with Megan Asplundh to discuss Student Doe’s learning

style and to determine how to help Student Doe.

            54.   In a response email, Megan Asplundh said that her calendar was very full and

then referenced information from Student Doe’s evaluation that was conducted 4 years prior

when Student Doe was a student at Wissahickon Middle School. She then merely encouraged

Student Doe to complete some videos and resources that she had posted on Canvas and to follow

up with the family’s private tutor.



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            55.   In response, Father Doe and Mother Doe pointed out that the information from

2016 was no longer relevant and requested that she meet with Student Doe directly, but this

never occurred.

            56.   These failures to provide disability-related accommodations to Student Doe

continued throughout the 2020-21 school year, despite AFS’s knowledge of the ongoing harm

being suffered by Student Doe, including the increase in Student Doe’s anxiety.

            57.   AFS clearly failed to recognize its legal obligations, as a recipient of federal

funds, to support Student Doe, a student with a disability, and these failures included (1) failure

to evaluate Student Doe, (2) failure to convene a meeting to determine what accommodations

Student Doe needed to access the school’s programs, (3) failure to issue a written plan that

provided for the accommodations Student Doe required as a result of Student Doe’s disabilities;

and (4) failure to provide accommodations and supplemental services to Student Doe

constituting discrimination under Section 504.

            58.   Additionally, while the peer harassment and bullying situation was initially

manageable due to AFS Upper School’s hybrid schedule at the beginning of Student Doe’s 9th

grade school year, the peer harassment, bullying and disparagement of Student Doe by the same

group of black students at AFS, and the false accusations of Student Doe being a “racist”

continued at school, through texting and on social media.

            59.   On or around December 6, 2020, Father Doe and Mother Doe contacted Dom

Gerard and reported that the ongoing race-based harassment by AFS students, including Student

1, Student 2, Student 3, and Student 6 (who is white), continued, that it had created a hostile

environment for Student Doe, and that Student Doe was being targeted once again by these

students and falsely accused of being a “racist” and of “blackfishing” because Student Doe used



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bronzer that made Student Doe’s skin’s complexion look darker. Father Doe and Mother Doe

requested a meeting with Dom Gerard and with AFS’s Counselor, Kevin Ryan, to discuss what

could be done to resolve the ongoing race-based disparagement, harassment and bullying by

these students.

            60.   In response, on December 7, 2020, Dom Gerard acknowledged the “social

challenges” that Student Doe was facing and requested that they provide him with copies of all

of the texts and messages. Father Doe and Mother Doe promptly hand-delivered approximately

90 pages of harassing texts and messages for Dom Gerard to review.

            61.   They met on December 8, 2020 to discuss what was occurring and, at that

meeting, Dom Gerard and Matt Eskin, the Head of the AFS Middle School, promised Father Doe

and Mother Doe that they would conduct an investigation and report back to them. While waiting

for AFS’s “investigation” to be conducted and completed, the race-based bullying and

harassment of Student Doe by Student Doe’s peers at AFS escalated.

            62.   On the evening of December 10, 2020, a post was made by someone on the AFS

Confessions Instagram account, which was followed by 132 members of the AFS community. It

was a meme created using two separate pictures of Student Doe to show the difference in Student

Doe’s skin’s complexion when Student Doe used bronzer, and calling Student Doe a “racist.” It

was done anonymously. When Student Doe saw the post, Student Doe became very upset, felt

humiliated, and became hysterical.

            63.   The next morning, on December 11, 2020, Father Doe and Mother Doe notified

Dom Gerard and Kevin Ryan of the escalation of the bullying and of the devastating effect it had

on Student Doe, and requested another call with them to discuss the latest incident and the

immediate actions AFS would take to end the harassment of Student Doe by these AFS students.



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Father Doe and Mother Doe also notified Student Doe’s 9th grade academic advisors, Rosanne

Mistretta and Kaitlyn Fitzpatrick, about what had occurred.

            64.   Dom Gerard did not call Father Doe or Mother Doe but instead, in an email, said

he was sorry for Student Doe and promised them he would address the situation that day. He did

not, however, report back as to what had been done to address the situation.

            65.   On the evening on December 15, 2020, Student Doe had learned that Student 1

was spreading around a photo of one of Student Doe’s friends with an offensive caption on it that

said “Look at this [N-word]”. Student Doe was told that Student 1 was not only sharing the photo

with the caption, but that he was telling everyone that Student Doe had created it and shared it on

social media, which was not true.

            66.   When Student Doe found out about the photo and what Student 1 was saying

about Student Doe to other AFS students in an intentional attempt to publically harm Student

Doe, Student Doe once again became hysterical. As Student Doe had several black friends at

AFS, Student Doe was upset and worried that they would see the photo and believe these false

statements.

            67.   Father Doe emailed Dom Gerard that evening, notifying him of the latest incident,

that the situation was “going from bad to worse,” and requesting a phone call.

            68.   Dom Gerard responded by email the next morning by requesting that Student Doe

not reach out to Student 1 or to any of the other students involved and said that he would be

available to talk that afternoon. At that point, Student Doe had not responded to any of the recent

vicious allegations. Father Doe also emailed Dom Gerard providing him with additional

information about the prior race-based and anti-Semitic comments that AFS students,

particularly Student 1, had made to Student Doe in the past.



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            69.   Father Doe and Mother Doe also alerted Student Doe’s 9th grade advisors as to

what had occurred, as well as their belief that the offensive photo was created by another student

at AFS who knew Student Doe’s friend.

            70.   Father Doe, Mother Doe, Dom Gerard and Matthew Eskin met virtually on the

afternoon of December 16, 2020. During the meeting, Dom Gerard and Matthew Eskin told

Father Doe and Mother Doe that they wanted to bring Student Doe and Student 1 together for a

face-to-face meeting. Father Doe and Mother Doe agreed to such meeting in the hopes of

bringing some resolution to the situation so that the ongoing harassment and bullying would stop

– which they stated they hoped would occur prior to the winter break. Dom Gerard and Matthew

Eskin asked Father Doe and Mother Doe to be patient and they agreed to do so.

            71.   Unfortunately, Dom Gerard and Matthew Eskin not only did not immediately

convene the proposed meeting between Student Doe and Student 1 before the winter break, but

they ultimately never ended up facilitating the meeting they had promised.

            72.   In the meantime, the situation at AFS only became worse for Student Doe. For

instance, two of Student Doe’s black friends at AFS heard the rumor that was being spread about

Student Doe and accused Student Doe of using the “N-word” during a breakout session in one of

their English classes. While Student Doe told them it was not true and that Student Doe had not

created the picture, they did not believe Student Doe. These two back AFS students immediately

ceased all social interaction with Student Doe.

            73.   Immediately after this occurred, Father Doe emailed Matthew Eskin noting that

“this is getting worse Matt and we do not know what to do.” Mother Doe also emailed Dom

Gerard and Matthew Eskin asserting that “the only way for this to stop is for AFS administration

to make a statement to all students that this ends here.” Mother Doe further advised them that



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Student Doe was quickly slipping into a very dark place, and pleaded with them to take a stand

and to take definitive and immediate action to end the harassment.

            74.   While Father Doe and Mother Doe participated in another virtual meeting with

Dom Gerard and Matthew Eskin on December 17, 2020, no definitive action was taken to

resolve the situation for Student Doe. Moreover, AFS continued to fail to follow the required

procedures in its own Upper School Handbook.

            75.   At the end of winter break, Father Doe notified Dom Gerard, as well as Student

Doe’s advisors and teachers that Student Doe would not be returning to AFS in-person and

would remain virtual until the situation with the other students was resolved.

            76.   While waiting for AFS to take action to institute disciplinary procedures and to

schedule and facilitate an in-person meeting of the students involved, Student Doe was socially

isolated, Student Doe’s “friends” would no longer speak to Student Doe, and Student Doe had

zero communication with any of Student Doe’s classmates. The whole experience was

traumatizing for Student Doe.

            77.   While Student Doe communicated with the 9th grade academic advisor several

times via text and email, this was not sufficient to help Student Doe under the circumstances.

            78.   Father Doe and Mother Doe followed up with various AFS administrators

numerous times during the month of January 2021 in order to find out how the alleged

“investigation” was going and what actions AFS would take to resolve the issues for Student

Doe so Student Doe could be reintegrated into AFS and be able to return to campus.

            79.   While Dom Gerard generally spoke to the entire student body on the first

Wednesday back from winter break about social media and how to treat each other, he did not




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address the incidents related to Student Doe or the individual AFS students that had been

harassing and bullying Student Doe.

            80.   Weeks went by without anyone at AFS providing Student Doe, Father Doe or

Mother Doe with an update on AFS’s plan to address the race-based and anti-Semitic harassment

and bullying that Student Doe endured at AFS. By that time, Student Doe had been defriended

by everyone in Student Doe’s class from all social media platforms and had had no

communication with anyone in Student Doe’s class.

            81.   In addition to the students who believed the lies and rumors about Student Doe

and refused to talk to Student Doe, there were also other Jewish students (as well as non-Jewish

students, black and white) who felt as if they had to back away from Student Doe because of the

viciousness with which Student Doe had been attacked by other AFS students/peers. These

students feared that any contact with Student Doe would put them in the line of fire and make

them the next victims of Student 1, Student 2, Student 3, and Student 6, and they knew AFS

would not do anything to combat the abuse and torment that these students inflicted on others at

AFS.

            82.   In response to AFS’s inaction under the circumstances, on January 22, 2021,

Father Doe called and left a message for Dom Gerard, and emailed him as well, noting that it had

been two weeks since there had been any communication from Dom Gerard or anyone at AFS

about the situation.

            83.   Two days later, on January 24, 2021, Dom Gerard finally responded to Father

Doe and Mother Doe, indicating that they had spoken with Student 1’s parents and they told him

that Student 1 had been “steering clear” of Student Doe, but nothing else was shared as far as

whether Student 1 was disciplined or whether he received any consequences whatsoever for his



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behaviors and violations of AFS community standards. Dom Gerard merely noted that he and

Student 1’s parents felt sorry for Student Doe’s pain, but then showed his true lack of empathy

for Student Doe and said that he could not control who friended or unfriended someone on social

media.

            84.   Dom Gerard clearly had not come up with any plan to address the issue head-on

or to reintegrate Student Doe back into the AFS community with the rest of Student Doe’s class,

and incredibly, he never shared the results of the “investigation” and continued to ignore AFS’s

own required procedures as stated in the Upper School Handbook for violations of community

standards and for bullying and harassment.

            85.   Specifically, Section VII of the AFS 2020-21 Upper School Handbook (“Upper

School Handbook”), titled “Community Standards,” provided that, by attending AFS, students

and their families agreed to abide by the community standards set forth in the Handbook. It

enumerated minor violations and major violations of community standards and the consequences

for those violations.

            86.   In the Upper School Handbook, bullying and harassment in person or on social

media was/is considered to be a “major violation” of the AFS community standards.

            87.   The Upper School Handbook specifically stated that when a student violated a

major community standard, the Dean of Students would convene the student-faculty Discipline

Advisory Council (“DAC”), which was comprised of six students, four members of the faculty,

and the Dean of Students. At the DAC meeting, the student would have to present his/her

account of the events to the DAC. It provided that DAC members would then take into

consideration all of the circumstances of a particular situation, including the student’s answers to




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questions during the procedures, and would reach a decision by consensus to recommend

appropriate consequences to the Upper School Director or Head of School.

            88.   The Upper School Handbook specifically provided that the goal of DAC was to

help students who had violated community expectations to understand how their actions

negatively impacted the community, to support them in finding ways to avoid such behavior in

the future, and to assist them in rebuilding trust within the community.

            89.   The Upper School Handbook further provided that, in more serious cases, DAC

may recommend out-of-school suspension, dismissal or expulsion as a consequence, but that,

more often, after-school detentions, loss of free periods, or day-long detentions could be

recommended.

            90.   The Upper School Handbook further provided that a typical DAC consequence

included an apology to the appropriate party, a written reflection, and some type of additional

action that would assist the learning process and help the student rebuild the trust of the

community, and that most students who appeared before DAC were placed on behavioral

probation for a specified amount of time, which meant that any further violation of a major

community standard could result in dismissal from school. On February 5, 2021, Mother Doe

met virtually with Rich Nourie, Head of School. When she requested that Mr. Nourie have the

AFS students apologize to Student Doe, Mr. Nourie replied, “How will an apology make it

better?”

            91.   When AFS failed to follow those written rules and procedures and not to provide

any consequences to the AFS students who committed major violations of the community

standards, including Student 1, Student 2, and Student 3, AFS violated the Upper School

Handbook and breached its contract with the Family.



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            92.   The Upper School Handbook also contained a Bullying and Harassment policy

that provided that AFS was/is committed to creating a safe and supportive environment for all

adults and students, and noted that bullying and harassment were not acceptable behavior for any

AFS community member.

            93.   The Upper School Handbook defined bullying as a severe, persistent, or pervasive

and intentional act or series of intentional acts directed at another student that interfered with a

student’s education, created a threatening environment, or substantially disrupted the operation

of the school. It provided that the bullying could be in written, verbal, physical, relational, or

electronic form, could occur in many types of school-related environments, including in the

classroom and online, and still fell under the jurisdiction of AFS if the act of bullying occurred

outside of a school-related environment but involved AFS students.

            94.   The Upper School Handbook also provided examples of bullying, including but

not limited to: writing or saying insulting comments or threats; spreading rumors or gossiping;

and psychological manipulation or provocation – all of which were clearly applicable to what

Student Doe had endured at AFS.

            95.   The Upper School Handbook further defined harassment as any behavior,

intentional or not, that stigmatized, intimidated, or victimized someone for any reason, including

but not limited to race, sex, religion, ethnicity, physical or other personal characteristics. The

Upper School Handbook provided that harassment could be in written, verbal, physical,

emotional, or electronic form and could occur across school-related environments, outside of

school, and in the virtual realm.

            96.   The Upper Handbook also provided examples of harassment including, but are

not limited to: teasing someone because of their religion or other personal characteristics; saying



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or writing insulting messages about someone because of their personal characteristics; and

excluding someone because of their personal characteristics – all of which were also applicable

to what Student Doe had endured at AFS.

            97.    The Upper School Handbook further provided that, after a student had reported a

concern or complaint about bullying or harassment to AFS, the AFS administration would

initiate a prompt investigation and take appropriate action based on the circumstances, and, if

bullying or harassment were confirmed, actions could include education, counseling, suspension,

dismissal, or the involvement of law enforcement.

            98.    When AFS failed to follow its own Bullying and Harassment policies, failed to

properly and promptly investigate this matter, failed to immediately acknowledge and publicly

label the individual AFS students’ actions toward Student Doe, as described above, as bullying

and harassment, and failed to promptly take appropriate actions based on the circumstances, it

violated the Upper School Handbook and breached its contract with the Student Doe and Student

Doe’s family.

            99.    Additionally, AFS issued and/or published on AFS’s website an SBA Non-

Discrimination Compliance Policy, which clearly and unambiguously acknowledged its

obligations to comply with the regulations issued by the SBA and other governmental agencies

in enforcing the civil rights laws. In the SBA Non-Discrimination Compliance Policy, AFS

unequivocally acknowledged its obligations to prohibit discrimination, harassment, or retaliation

on the basis of race, color, national origin, age, sex, disability/handicap, or religion in its

educational programs, activities, and services.

            100.   Another meeting was held between Father Doe, Mother Doe and Dom Gerard on

January 25, 2021. Although Father Doe and Mother Doe had previously agreed that they would



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meet with Student 1’s parents and also agreed that Student Doe would meet with Student 1, it

became clear that Dom Gerard had not advanced the situation by arranging either of those

meetings. On the contrary, Dom Gerard confirmed that Student 1 and his parents did not believe

that Student 1 had done anything wrong and they did not see any reason to sit down with or to

apologize to Student Doe.

            101.   Instead of addressing the harassment and bullying behavior that tormented

Student Doe for months, in accordance with the Upper School Handbook, Dom Gerard callously

defended the actions of Student 1 and said that Student 1 was just trying to have a “discussion

about race” and, because Student Doe did not try to defend Student Doe’s actions, Student 1 had

been left with the impression that Student Doe was a “racist.”

            102.   Dom Gerard showed an inexcusable lack of empathy for what Student Doe had

experienced and actually blamed Student Doe – the victim of the ongoing brutal harassment and

social isolation – for not better defending against Student 1’s and other AFS students’ repeated

attacks about Student Doe – when Dom Gerard himself had said on December 15, 2020 that

Student Doe should not communicate with Student 1.

            103.   Dom Gerard then actually went on to say, without having any conversation with

Student Doe in over a month, that it was his opinion that Student Doe was not “psychologically

ready” to sit down with Student 1 and that Student Doe should just talk to Student Doe’s

advisors instead.

            104.   It was clear that Dom Gerard and the AFS administration were not going to

properly investigate this situation or provide Student 1 or any of the other students who joined in

this abhorrent behavior with any consequences for what they had done to Student Doe, an

already fragile teenager with well-documented anxiety, who was becoming completely socially



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isolated from all peers at AFS and who could not even return to AFS in-person because of the

ongoing pattern of harassment, race-based and anti-Semitic bullying, as well as the false rumors

and accusations made about Student Doe by these students.

            105.   AFS did not discipline or punish these students in any way and they were merely

told by AFS to stay away from Student Doe – which in no way resolved the problem and which

in fact, perpetuated the ongoing harm to Student Doe.

            106.   As of the date of that meeting, January 25, 2021, Dom Gerard demonstrated that,

after 6 weeks’ time, he still did not have a viable plan to truly address the racially-charged and

hate-filled culture that existed at AFS and to reintegrate Student Doe back into the AFS

community. Dom Gerard and the AFS administration continued to improperly and intentionally

disregard the policies and procedures found in the Upper School Handbook which were required

to address major violations of community standards.

            107.   Following this meeting, Father Doe and Mother Doe recognized that there still

was not a plan in place to support their child, so they provided Dom Gerard and the AFS

administration with a plan moving forward which included facilitating a meeting between

Student Doe and the students involved in order to hash out what had happened and to provide an

apology; convening the DAC to determine how to discipline the individual students for their

major violations of community standards in accordance with the Upper School Handbook;

arranging for a presentation to the student body from outside speakers on anti-Semitism; and

making a public statement to the student body making it known that Student Doe had been

falsely accused and subjected to bullying, harassment and anti-Semitism, and that such behavior

would not be tolerated any further at AFS.




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            108.   Prompted by Father Doe’s and Mother Doe’s persistence and determination to

support their child, Dom Gerard convened a meeting with other AFS administrators on January

28, 2021, to finally develop a plan in addressing what had occurred.

            109.   On January 29, 2021, Dom Gerard emailed Father Doe and Mother Doe

acknowledging that “things had not improved as they had hoped” and advised them of the plan

moving forward, which included: (1) having Student Doe’s 9th grade academic advisors, in

collaboration with Student Doe’s therapist, work with Student Doe to connect Student Doe with

some peers at AFS to end Student Doe’s isolation; (2) developing “thoughtful programming” to

improve group dynamics for the 9th grade class as a whole and in their advisories, and also

talking to the 9th grade class as a whole on what had occurred specific to Student Doe; and (3)

collaborating with AFS’s Jewish students and families to make them feel more included in the

diversity and inclusion work of the school, including incorporating training about anti-Semitism

and reassessing AFS’s English and History curricula to ensure all students were well-educated in

the Holocaust and Jewish literature and histories.

            110.   While this plan was a positive improvement over the complete lack of any

semblance of a plan by AFS through that time, it was made clear that Dom Gerard and the AFS

administration had solidified their decision to disregard the policies and procedures found in the

Upper School Handbook meant to address major violations of community standards. AFS were

not going to hold the individual students accountable for the ongoing harassment and bullying of

Student Doe and were not going to bring the individual students together to try to achieve some

immediate resolution.

            111.   The failure of AFS to follow its own Upper School Handbook policies and

procedures in response to ongoing complaints of race-based, and religious-based harassment of



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Student Doe by other AFS students effectively constituted the disparate treatment of Student Doe

by AFS based on Student Doe’s race, national origin, and religion.

            112.   On February 3, 2021, AFS held a Worship Sharing with the 9th grade class to

begin a conversation about the 9th grade class’ dynamics generally and on February 10, 2021,

Dom Gerard spoke to the entire 9th grade class about what had occurred with Student Doe and

the damage the situation caused Student Doe. This was the first time that Student Doe’s

harassment had been acknowledged publicly – months after it had occurred.

            113.   When Dom Gerard was done speaking, Rusty, the 9th Grade Dean, facilitated

another Worship Sharing for the entire class, as he did the prior week. During the Worship

Sharing, another student in the class spoke out and expressed her concerns that the same group of

AFS students had terrorized other AFS students in the past and continued to do so because there

had been no consequences imposed by the school and these students had never been held

accountable for their actions by AFS.

            114.   On February 11, 2021, Dom Gerard emailed Father Doe and Mother Doe and said

that they would continue to work with the 9th grade and the individual students involved to

“come to greater closure for [Student Doe] and everyone involved,” but nothing concrete was

ever done by AFS thereafter.

            115.   For the remainder of the 9th grade school year, despite repeated requests from

Father Doe and Mother Doe as to what was being done to bring “greater closure for [Student

Doe] and everyone involved,” AFS never properly and fully investigated this matter, never

followed up with addressing the major violations of community standards in accordance with its

own Upper School Handbook, never held the individual students accountable for the ongoing

harassment and bullying of Student Doe, and never brought the individual students together.



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            116.   Instead, on March 1, 2021, Dom Gerard declared that, from his perspective, AFS

had been successful in addressing the issues and that, “as far as the students who were involved,

I think they got the message loud and clear.” As far as he was concerned, the situation had been

resolved and, after months of improperly delaying any face-to-face meeting with the students

involved, he advised that he had come to the conclusion that it was too late and that any further

interpersonal work with the individual students and Student Doe would be counterproductive.

            117.   As a result of AFS’s actions and inactions, the harassment and bullying by AFS

students toward Student Doe continued throughout the remainder of the 2020-21 school year. For

instance, another AFS student, Student 4, sent Student Doe a message as late as May 5, 2021

calling Student Doe a “privileged white [expletive].”

            118.   For the remainder of the school year, Student Doe remained shunned, became

more and more isolated, and suffered severe physical, mental and emotional trauma.

            119.   Student Doe was never reintegrated into the class, never received an apology or

an acknowledgment from any of the students involved (with the exception of Student 3) of the

pain they caused Student Doe, was never socially reacquainted with or accepted by Student

Doe’s peers at AFS, and did not feel emotionally able to return to campus for in-person learning

for the remainder of the 2020-21 school year.

            120.   Additionally, on May 6, 2021, the Head of School, Richard Nourie, sent an email

to Father Doe and Mother Doe containing many factual inaccuracies and improperly defending

Dom Gerard’s and the AFS administration’s actions in the handling of the matter, while also

improperly accusing Student Doe of being racially insensitive and accusing Father Doe and

Mother Doe of being antagonistic for simply advocating on behalf of their child and trying to

bring about a resolution and the closure for Student Doe that had been promised by AFS.



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            121.   Ultimately, due to the repeated peer harassment and bullying experienced by

Student Doe and the lack of support from AFS administrators and staff, Father Doe and Mother

Doe ultimately were left with no choice but to withdraw Student Doe from AFS and to transfer

Student Doe to another school in order to remove Student Doe from the hostile school

environment Student Doe endured at AFS, but they had to wait until the end of the 2020-21

school due to AFS’s block scheduling.

            122.   As a direct result of the failure of AFS and its employees to comply with AFS’s

own Upper School Handbook, failure to take prompt and effective steps reasonably calculated to

end the harassment, failure to eliminate any hostile environment and its effects, and failure to

prevent the bullying and harassment from recurring, Student Doe suffered and continues to suffer

from increased stress and anxiety which has manifested itself in significant physical and

emotional injuries.

            123.   Student Doe has suffered emotional trauma by the adult individuals who had a

duty to educate Student Doe, to keep Student Doe safe, and to protect Student Doe.

            124.   Student Doe treated with a private therapist for the psychological and emotional

injuries resulting from the harassment from Student 1, Student 2, Student 3 and other AFS

students, and the consistent and unchecked bullying and harassment that followed thereafter at

AFS.

            125.   The physical and mental effects of the harassment and bullying to which Student

Doe was subjected at AFS have also necessitated ongoing treatment by a psychiatrist.

            126.   Father Doe, Mother Doe and Student Doe suffered economic losses as a result of

Student Doe’s injuries, including but not limited to, (i) all tuition, costs, and fees paid to AFS

during the 2019-20 and 2020-21 school years; (ii) all fees and costs paid to a tutor as a result of



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AFS’s conduct during the 2019-20 and 2020-21 school years; (iii) all fees and costs paid for

therapy, counseling, and/or medical, psychological and psychiatric care required as a result of

AFS’s conduct; and (iv) all fees and costs to be paid for further therapy, counseling and/or

medical, psychological and psychiatric care required as a result of AFS’s conduct.

     V.        CAUSES OF ACTION

                                     Count I – Breach of Contract

            127.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            128.   Plaintiffs had a contractual relationship with AFS, either express or implied.

            129.   Upon information and belief, Plaintiffs and AFS were parties to enrollment

agreements for the 2019-20 and 2020-21 school years at AFS, which are binding contracts. Such

contracts were formed by AFS’s offer of admission for both school years, Plaintiffs’ acceptance

of AFS’ offers of admission, and Plaintiffs’ payment (or payments made on their behalf) of

tuition and fees to AFS for both school years.

            130.   The parties’ enrollment contracts, either express or implied, incorporated the

terms of AFS’s Handbooks and other AFS written policies, and Student Doe, Father Doe and

Mother Doe became entitled to all the rights conferred by the promises in the enrollment

contracts, the AFS Handbooks and other written policies.

            131.   AFS breached its contract with Father Doe, Mother Doe and Student Doe by:

                   a. Failing to protect Student Doe from discrimination and harassment at school

                      on the basis of disability;

                   b. Failing to protect Student Doe from discrimination and harassment at school

                      on the basis of race;



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                c. Failing to protect Student Doe from discrimination and harassment at school

                   on the basis of national origin;

                d. Failing to protect Student Doe from discrimination and harassment at school

                   on the basis of religion;

                e. Failing to follow the policies and procedures in the Upper School Handbook

                   related to major violations of community standards, including convening the

                   student-faculty   Discipline       Advisory   Council   (DAC)   and   providing

                   consequences to the AFS students who bullied and harassed Student Doe;

                f. Failing to follow the policies and procedures in the Upper School Handbook

                   in response to ongoing complaints and reports of bullying and harassment of

                   Student Doe on the basis of Student Doe’s race, national origin, and religion;

                g. Failing to follow the policies and procedures in the Upper School Handbook

                   related to bullying and harassment, including failure to conduct a prompt

                   investigation and to promptly take appropriate actions based on the

                   circumstances;

                h. Failing to immediately acknowledge and publicly label the individual

                   students’ actions toward Student Doe, as described above, as bullying and

                   harassment;

                i. Failing to impose prompt and effective remedial and safety measures

                   reasonably calculated to end the ongoing bullying and harassment of Student

                   Doe at AFS, to eliminate the hostile environment and its effects, and to

                   prevent the harassment and bullying from recurring;




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                   j. Failing to report illegal or potentially illegal conduct to law-enforcement

                      authorities; and

                   k. Failing to convene an Upper School SST meeting and to provide Student Doe

                      with a Formal Education Plan, and additional accommodations, supports, and

                      supplemental strategies to address Student Doe’s academic, social and

                      emotional issues as they arose during Student Doe’s 9th grade school year.

            132.   These failures constitute material breaches of the express and implied terms of the

parties’ contract.

            133.   Plaintiffs have been damaged as a result of this breach in an amount to be

determined at trial.

            134.   Those damages include, without limitation, (i) all tuition, costs, and fees paid to

AFS during the 2019-20 and 2020-21 school years; (ii) all fees and costs paid to a tutor as a

result of AFS’s conduct during the 2019-20 and 2020-21 school years; (iii) all fees and costs paid

for therapy, counseling and/or medical, psychological and psychiatric care required as a result of

AFS’s conduct; and (iv) all fees and costs to be paid for further therapy, counseling and/or

medical, psychological and psychiatric care required as a result of AFS’s conduct.

              Count II – Breach of Implied Covenant of Good Faith and Fair Dealing

            135.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            136.   Pennsylvania law recognizes an implied covenant of good faith and fair dealing in

all contracts, either express or implied.

            137.   By the conduct alleged herein, AFS breached the implied covenant of good faith

and fair dealing and caused harm to Plaintiffs.



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            138.   Plaintiffs have been damaged as a result of this breach in an amount to be

determined at trial.

            139.   Those damages include, without limitation, (i) all tuition, costs, and fees paid to

AFS during the 2019-20 and 2020-21 school years; (ii) all fees and costs paid to a tutor as a

result of AFS’s conduct during the 2019-20 and 2020-21 school years; (iii) all fees and costs paid

for therapy, counseling and/or medical, psychological and psychiatric care required as a result of

AFS’s conduct; and (iv) all fees and costs to be paid for further therapy, counseling and/or

medical, psychological and psychiatric care required as a result of AFS’s conduct.

                       Count III – Intentional Infliction of Emotional Distress

            140.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            141.   As described more fully throughout this Complaint, AFS intentionally and

outrageously subjected Student Doe to severe emotional distress manifesting in significant

physical injuries by purposefully evading their legal obligation to take prompt and effective steps

reasonably calculated to end the harassment and bullying, eliminate any hostile environment and

its effects, and prevent the harassment and bullying from recurring.

            142.   As described more fully throughout this Complaint, at all relevant times, AFS’s

conduct was so extreme, outrageous and shocking that it exceeded all reasonable bounds of

decency as measured by what the average member of the community would tolerate.

            143.   As described more fully throughout this Complaint, at all relevant times, AFS’s

conduct was motivated by callous indifference to Student Doe’s rights.

            144.   As a direct result of AFS’s outrageous behavior, Student Doe suffered and

continues to suffer from severe and lasting psychological trauma and injury, embarrassment,



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humiliation and mental anguish and injury and other incidental and consequential damages and

expenses, all to Student Doe’s damage, in an amount that will be determined at trial.

                        Count IV – Negligent Infliction of Emotional Distress

            145.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            146.   A reasonable and prudent person in the same or similar circumstances as AFS

would know or should have known that Student Doe’s emotional distress was a foreseeable

result of AFS’s extreme and outrageous conduct.

            147.   As described more fully throughout this Complaint, at all relevant times, AFS’s

conduct toward Student Doe was extreme and outrageous, going beyond all bounds of decency.

            148.   As described more fully throughout this Complaint, at all relevant times, AFS’s

conduct was motivated by callous indifference to Student Doe’s rights.

            149.   As a direct result of AFS’s outrageous behavior, Student Doe suffered and

continues to suffer from severe and lasting psychological trauma and injury, embarrassment,

humiliation and mental anguish and injury and other incidental and consequential damages and

expenses, all to Student Doe’s damage, in an amount to be determined at trial.

                        Count V – Violation of Title VI of the Civil Rights Act

            150.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            151.   On or around April 9, 2020, AFS applied for and received funding under the

Paycheck Protection Program (“PPP”) of the Coronavirus Aid, Relief, and Economic Security

(“CARES”) Act in the amount of $2,191,293.00.




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            152.   The federal government has been clear that recipients of these CARES Act funds

are deemed to be recipients of federal financial assistance, which in turn requires that these

institutions comply with and adhere to mandates under federal anti-discrimination statutes,

including Title VI of the Civil Rights Act (“Title VI”), which prohibits discrimination based on

race, color, or national origin.

            153.   As a condition for receiving the PPP loan in 2020, AFS was required to and did

acknowledge and confirm that it would comply with this civil rights law and any corresponding

regulations.

            154.   Additionally, AFS issued and/or published on AFS’s website an SBA Non-

Discrimination Compliance Policy, which clearly and unambiguously acknowledged its

obligations to comply with the regulations issued by the SBA and other governmental agencies

in enforcing civil rights laws.

            155.   In the policy, AFS unequivocally acknowledged its obligations under Title VI to

prohibit discrimination, harassment, or retaliation on the basis of race, color, and national origin

in its educational programs, activities, and services.

            156.   Yet, Student Doe was subjected to racial discrimination, bullying and harassment

and a hostile environment at AFS on the basis of Student’s Doe’s race, color, and national

original in violation of Title VI.

            157.   AFS created a hostile environment against Student Doe in violation of Student

Doe’s civil rights under Title VI by failing to protect Student Doe from discrimination, bullying

and harassment on the basis of Student Doe’s race, color, and national origin.

            158.   The severe, pervasive and ongoing race-based and anti-Semitic discrimination,

bullying and harassment that AFS allowed to persist created a hostile environment for Student



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Doe, interfered with Student Doe’s ability to participate in or benefit from the services and

activities offered by AFS.

            159.   Plaintiffs placed AFS on notice that Student Doe was being subjected to

discrimination, bullying and harassment at AFS on the basis of Student Doe’s race, color and

national origin by making several complaints to AFS’s administrators and staff as described

above.

            160.   AFS knew or should have known about the discrimination, bullying and

harassment at AFS that Student Doe was subjected to and failed to take appropriate remedial

action.

            161.   AFS completely failed in its responsibility to discipline the AFS students who

made the racially hostile and anti-Semitic remarks (which should have been an important first

step of AFS’s response) in violation of the policies and procedures in the Upper School

Handbook, and failed to acknowledge the pattern of bullying and harassment Student Doe

suffered as indicative of a racially-hostile and anti-Semitic school environment in violation of

Title VI.

            162.   AFS failed to appropriately and aggressively respond to the harassment and

bullying of Student Doe when they first became aware of it and to discipline the individuals

involved, as well as to promptly implement an effective systemic response to address the unique

effect that the misconduct had on the school climate.

            163.   AFS tolerated the discrimination, bullying and harassment at AFS, did not

immediately, appropriately and/or effectively address it, downplayed it, and, at times, defended

it.




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            164.   AFS’s failure to maintain an educational environment free of discrimination,

bullying and harassment on the basis of race, color and national origin, and failure to take prompt

remedial action to address the hostile environment to which Student Doe was subjected, were

intentional, malicious, and in reckless indifference to Student Doe’s protected federal rights.

            165.   The hostile environment to which Student Doe was subjected to would have

detrimentally affected a reasonable person in Student Doe’s position.

            166.   At all times relevant and material to this Complaint, Student Doe was a member

of a protected class.

            167.   At all times relevant and material to this Complaint, AFS treated Student Doe

differently from Student Doe’s similarly situated classmates who were not of Student Doe’s race,

color and national origin.

            168.   As a result of AFS’s actions, Student Doe has had Student Doe’s reputation

damaged and standing in the community lowered, has suffered and continues to suffer from

severe and lasting psychological trauma and injury, embarrassment, humiliation and mental

anguish and injury and other incidental and consequential damages and expenses, all to Student

Doe’s damage, in an amount to be determined at trial.

             Count VI – Discrimination in Violation of Section 504 of Rehabilitation Act

            169.   Plaintiffs incorporate by reference all preceding paragraphs as if fully restated in

this paragraph.

            170.   The District has intentionally, purposefully and with deliberate indifference

violated the rights of Student Doe under Section 504 of the Rehabilitation Act (“Section 504”).

            171.   Section 504, 29 U.S.C. § 794 et seq., and its implementing regulations, 34 C.F.R.

Part 104 et seq. require that qualified individuals with disabilities not be excluded from the



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participation in, be denied the benefits of, or be subjected to discrimination by a recipient of

federal financial assistance. Failure to provide accommodations and supplemental services

constitutes discrimination for purposes of Section 504.

            172.   Student Doe is an individual with a disability under Section 504 – i.e., a Specific

Learning Disability and Anxiety.

            173.   Student Doe was otherwise qualified to participate in all school programs and

activities.

            174.   During all relevant times, AFS offered programs and activities that received

federal financial assistance.

            175.   Specifically, on or around April 9, 2020, AFS applied for and received funding

under the Paycheck Protection Program (“PPP”) of the Coronavirus Aid, Relief, and Economic

Security (“CARES”) Act in the range of $2 million – $5 million.

            176.   The federal government has been clear that recipients of these CARES Act funds

are deemed to be recipients of federal financial assistance, which in turn requires that these

institutions comply with and adhere to mandates under federal anti-discrimination statutes,

including Section 504 of the Rehabilitation Act (“Section 504”), which prohibits discrimination

against qualified individuals with a disability, without any religious exemption.

            177.   Indeed, as a condition for receiving the PPP loan, AFS was required to

acknowledge and confirm that it would comply with this civil rights laws and any corresponding

regulations.

            178.   Additionally, AFS issued and/or published an SBA Non-Discrimination

Compliance Policy, clearly and unambiguously acknowledging its obligations to comply with the




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regulations issued by the SBA and other governmental agencies, which would also include the

regulations issued by the U.S. Department of Education, in enforcing the civil rights laws.

            179.   In AFS’s SBA Non-Discrimination Compliance Policy, AFS acknowledged its

obligation under Section 504 of the Rehabilitation Act, as a recipient of federal financial

assistance, to ensure that no otherwise qualified individual with a disability be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving federal financial assistance, including both academic and non-academic

services, and to make reasonable accommodations to disabled individuals to permit such persons

to participate in and enjoy the benefits of AFS’s programs and activities.

            180.   Although AFS had knowledge that Student Doe was a student with a Specific

Learning Disability and was diagnosed with Anxiety, entitling Student Doe to protection under

Section 504, AFS excluded Student Doe from participation in, denied Student Doe the benefits

of its services, programs and activities, and otherwise discriminated against Student Doe based

on Student Doe’s disability by not evaluating Student Doe, by not convening a Section 504

Meeting, by not issuing a Section 504 Plan in order to accommodate Student Doe’s disabilities at

any time during the 2020-21 school year, and by not providing Student Doe with

accommodations and supplemental services in violation of its obligations under Section 504 and

its implementing regulations.

            181.   AFS acted intentionally or with deliberate indifference towards Student Doe’s

federal rights.

            182.   AFS knew that a federally protected right was substantially likely to be violated

and failed to act despite that knowledge.




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            183.   AFS’s failures continued throughout the 2020-21 school year, despite AFS’s

knowledge of the ongoing harm being suffered by Student Doe, including the increase in Student

Doe’s anxiety and anxiety-related symptoms as a result of AFS’s conduct.

            184.   Student Doe suffered and continues to suffer damages including but not limited to

humiliation, mental anguish, pain and suffering, and loss of educational benefit.

                            PRAYER FOR RELIEF AND JURY DEMAND

            Plaintiffs pray this Honorable Court for the following relief in satisfaction of their claims:

                   (a) That the Court enter judgment against Defendant AFS;

                   (b) That the Court order AFS to pay compensatory and consequential damages to

                       Plaintiffs in an amount to be determined at trial;

                   (c) That the Court order AFS to pay common-law punitive damages in an amount

                       to be determined at trial;

                   (d) That the Court award pre-judgment and post-judgment interest as permitted by

                       law;

                   (e) That the Court award attorneys’ fees and costs which Plaintiffs have incurred

                       or will incur in prosecuting this action as permitted by law, including expert

                       costs; and

                   (f) That the Court award such other, additional and separate relief as the case may

                       require and/or that the Court may deem just and proper under the

                       circumstances.


    PLAINTIFFS, PURSUANT TO RULE 38 OF THE FEDERAL RULES OF CIVIL
PROCEDURE, REQUEST A TRIAL BY JURY ON ALL COUNTS RAISED IN THIS
COMPLAINT.




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Dated: January 3, 2022                  Respectfully submitted,

                                        _/s/Scott H. Wolpert         __________________
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                                        Christine M. Gordon, Esquire (PA Bar No. 209391)
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                                        Attorneys for Plaintiffs




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                                         VERIFICATION

            STUDENT DOE, being duly sworn according to law, deposes and says that she is one of

 the Plaintiffs in the within matter and that the facts set forth in the foregoing Complaint are true

 and correct to the best of her knowledge, information and belief; and that this statement is made

subject to the penalties of 18 Pa. C.S. § 4904, relating to unsworn falsification to authorities.



           1/3/22
 Date:____________________




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                                          VERIFICATION

            FATHER DOE, being duly sworn according to law, deposes and says that he is one of the

 Plaintiffs in the within matter and that the facts set forth in the foregoing Complaint are true and

 correct to the best of his knowledge, information and belief; and that this statement is made subject

 to the penalties of 18 Pa. C.S. § 4904, relating to unswom falsification to authorities.



 Date:            1/3/22
              ___________________




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                                          VERIFICATION

            MOTHER DOE, being duly sworn according to law, deposes and says that she is one of

 the Plaintiffs in the within matter and that the facts set forth in the foregoing Complaint are true

 and correct to the best of her knowledge, information and belief; and that this statement is made

 subject to the penalties of 18 Pa. C.S. § 4904, relating to unswom falsification to authorities.



           1/3/22
 Date: ____________________
                                                                       MOTHER DOE




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